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                              EXHIBIT C
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January 4, 2022

VIA E-MAIL, U.S. MAIL AND OVERNIGHT COURIER

Coal Network, LLC
Attn: Gerald Quitter
7697 Innovation Way, Suite 100
Mason, OH 45040. gquitter@coalnetwork.com

RE: Notice of Default and Intent to Terminate and Opportunity to Cure; Demand for Adequate
Assurance

Dear Gerald:

       The Coal Supply Agreement entered into on June 3, 2020, between Coal Network, LLC (“Coal
Network”) and CEMEX Construction Materials Atlantic, LLC, (“CEMEX”) (hereafter, the “CSA”),
requires Coal Network to supply coal to CEMEX that meets the specifications set forth on Appendix A to
the Coal Supply Agreement. (CSA § 1.1, defining Coal meeting such expectations as “Coal;” CSA § 4.2
Coal Warranty.)

        As you know from prior correspondence, conversations over the phone, and our in-person
meetings in August 2021, coal supplied by Coal Network routinely fails to meet the standards set forth in
Appendix A, in violation of the CSA. Specifically, based on CEMEX’s analysis of the coal received from
Coal Network, the coal fails to meet the following required standards and also fails the rejection limits:
[Heat Content below 11,700 BTU/Lb; Ash % above 15%, Sulphur below 2%, Mercury above 60 PPB.]
These failures are also plainly evident to CEMEX because the coal requires CEMEX to use more natural
gas in the kiln for its processing than would otherwise be required if Coal Network was supplying the
high-quality coal required by the CSA.

        Coal Network provides CEMEX with weekly reports allegedly showing that the coal supplied by
Coal Network meets the required standards. CEMEX’s analysis of the coal actually delivered to CEMEX,
however, reveals that the coal is much lower quality. We do not believe the coal analyzed in the reports
sent by Coal Network is the same as the coal that Coal Network ultimately supplies to CEMEX. This is
in direct violation of Section 8.2 of the Coal Supply Agreement, which requires that “Supplier shall collect
representative Coal samples on a weekly basis from the Coal shipped to the Delivery Location [i.e., the
Knoxville Cement Plant] and provide such samples to the ICL.”) (CSE § 8.2 emphasis added.)

        Pursuant to Section 14.0 of the CSA, CEMEX hereby provides Notice of Default to Coal Network
for Coal Network’s failure to provide Coal meeting the standards set fort in Appendix A, and for providing
weekly representative Coal sample reports to CEMEX. Pursuant to 14.0 of the CSA, CEMEX also
provides Notice of its Intent to Terminate the CSA if Coal Network fails to cure the default within sixty
(60) days of this notice. Pursuant to Section 14.1 of the CSA, CEMEX also provides Notice of its Intent
to Terminate the CSA within sixty (60) days at CEMEX’s discretion for “operational cause,” because as
set forth above, the “coal does not perform to the satisfaction of CEMEX.” As a courtesy (though not
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required by Section 14.1), CEMEX will provide Coal Network with a sixty (60) days opportunity to cure
the failure but CEMEX reserves the right to terminate the CSA in sixty (60) days if in CEMEX’s
discretion, the coal supplied by Coal Network “does not perform the satisfaction of CEMEX.”

        In addition, given the above, CEMEX has reasonable grounds for insecurity that Coal Network
will be able to perform its obligations to supply Coal under the CSA. CEMEX hereby demands adequate
assurance of due performance within thirty (30) days of the date of this letter. To the extent that Coal
Network fails to provide adequate assurance by January 13, 2021, such failure may be considered by
CEMEX as a repudiation of the CSA by Coal Network pursuant to § 47-2-609 of the Tennessee Code,
(UCC § 2-609(4)), and an anticipatory repudiation pursuant to § 47-2-610, (UCC § 2-610). In the interim,
CEMEX reserves all of its rights and remedies under the CSA and applicable law.

       Finally, pursuant to the CSA and in order to cure the default and provide assurances required under
§ 47-2-609 of the Tennessee Code (UCC § 2-609), CEMEX demands that Coal Network take the
following action immediately:

       1.      Supply CEMEX with Coal that meets the standards set forth in Appendix A of the CSA
               for all future shipments;
       2.      Send CEMEX all of CEMEX’s Split Samples to CEMEX’s designated laboratory for
               analysis for all future shipments;
       3.      Send CEMEX all historical CEMEX Split Samples in Coal Network’s possession to
               CEMEX’s designated laboratory for analysis;
       4.      Preserve and not alter or destroy any and all Referee Split Samples in Coal Network’s
               possession (even after 45 days have passed following collection);
       5.      Cease and desist the practice of analyzing and sending weekly reports of coal different than
               the coal actually supplied to CEMEX;
       6.      Allow CEMEX to send a designated representative to observe the collection of samples,
               and to observe loading of Coal to be delivered to CEMEX; and
       7.      Provide CEMEX with the opportunity to inspect, review and audit Coal Network’s records
               pursuant to Section 10 of the CSA.

       If Coal Network fails to take such action and, in any event, fails to provide adequate assurance
within thirty (30) days, or fails to cure its default within sixty (60) days, CEMEX reserves its rights to
pursue any and all remedies under the CSA and applicable law. We look forward to your timely action
and response.

                                             Sincerely yours,

                                             CEMEX Construction Materials Atlantic LLC.
